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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 ARBOR GLOBAL STRATEGIES LLC, a                    )
 Delaware Limited Liability Company,               )
                                                   )
                        Plaintiff,                 )
                                                   )
                 v.                                )   C.A. No. 19-1986 (MN)
                                                   )
 XILINX, INC.,                                     )
                                                   )
                        Defendant.                 )

                                              ORDER

       At Wilmington this 8th day of September 2020:

       Defendant moves for reconsideration (D.I. 42) of the Court’s August 12, 2020 Order

(D.I. 39) denying its motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure. As stated in the Order, the Court denied the motion because it was based on a dispute

over the construction of the claim term “stacked,” which the Court declined to address on a motion

to dismiss. (D.I. 39 at 2). In its motion for reconsideration, Defendant asserts that in a related case

in the Eastern District of Texas, Plaintiff has asserted that “stacked” should have its plain and

ordinary meaning and that the accused products are not “stacked” under that meaning because they

are side-by-side. (See D.I. 42 at 1-2).

       The purpose of a motion for reconsideration is to “correct manifest errors of law or fact or

to present newly discovered evidence.” Max’s Seafood Café ex rel. Lou-Ann, Inc. v. Quinteros,

176 F.3d 669, 677 (3d Cir. 1999). “A proper Rule 59(e) motion . . . must rely on one of three

grounds: (1) an intervening change in controlling law; (2) the availability of new evidence; or

(3) the need to correct a clear error of law or fact or to prevent manifest injustice.” Lazaridis v.

Wehmer, 591 F.3d 666, 669 (3d Cir. 2010).
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       Here, although Defendant suggests that Plaintiff’s assertion in related litigation is “new

evidence” such that reconsideration is appropriate, it is unclear whether Plaintiff’s assertion in

related litigation is, in fact, “new evidence.” In any event, Plaintiff’s argument in the Texas

litigation does not change this Court’s decision here. In its response to the motion to dismiss,

Plaintiff asserted that Defendant refers to its Accused Products as “stacked” and Plaintiff offered

some evidence to that effect. As such, this is not an issue that is appropriate for resolution on a

motion to dismiss.

       THEREFORE, IT IS HEREBY ORDERED that Defendant’s Motion for Reconsideration

is DENIED. IT IS FURTHER ORDERED that Defendant’s alternative request for expedited

claim-construction proceedings is DENIED.




                                                     The Honorable Maryellen Noreika
                                                     United States District Judge




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